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EXHIBIT “F”
Case o-24-OoU0/1-aSt DOC 1lo-O Filed lifly/24 centered 11/Lly/24 LUiogio6

December 22, 2020

RE: Side Letter (“Letter”) to the Purchase Agreement
Ladies and Gentlemen:

Reference is made to that certain Equity Security Purchase Agreement dated July 1, 2020, as
amended by the First Amendment to the Equity Security Purchase Agreement dated November
25, 2020 (the “Purchase Agreement”), by and between Douglas Belz (“DB”), Stephen DiMeglio
(“SD”), and James Dvorak (“JD”) (DB, SD and JD individually, a “Seller” and collectively, the
“Sellers”); and Meghan LaBella (“ML”) and Al LaBella (“AL”) (ML and AL individually, a
Purchaser” and collectively, the “Purchasers”). Each of the foregoing are individually referred to
herein as a “Party,” and, collectively, as the “Parties.” The Purchase Agreement and the documents
specifically related thereto are collectively referred to herein as the “Transaction Documents.”
Capitalized terms not defined herein shall have the meanings provided in the Purchase Agreement.

In consideration of the undersigned Parties’ entry into the Transaction Documents, as they may
apply to each Party, and for other good and valuable consideration, the receipt and sufficiency
of which are hereby acknowledged, by their signatures below, to the extent not satisfied on or
before Closing, the Parties hereto hereby agree as follows:

1, The Companies shall pay to each Seller “all unpaid distributions from the Companies in
respect to all federal, state, and local income taxes owed by such Seller for ... fiscal 2020
through the Closing Date” as soon as practicable but no later than such distributions are
paid to Purchasers for fiscal 2020.

2. The Parties shall cooperate with one another and Purchasers shall use commercially
reasonable efforts to transfer title to the automobiles to Sellers as set forth on Exhibit B of
the Purchase Agreement as soon as practicable post-Closing.

3. The Parties shall cooperate with one another and Purchasers shall use commercially
reasonable efforts to assign to Sellers the insurance policies described in Section 4(b)(iv)
of the Purchase Agreement as soon as practicable post-Closing.

4, The Parties acknowledge and agree that Sellers have placed their own funds in the
aggregate amount of $2,886,600 (the “Seller Escrow”) into escrow pending the
determination on forgiveness of certain PPP Loans, and that Companies hereby agree that
all amounts held in Seller Escrow, to the extent forgiveness is received, shall be paid to
Sellers pursuant to the PPP Loan Escrow Agreements to an account controlled exclusively
by the Sellers. In the event that the Seller Escrow cannot be deposited in an account
controlled exclusively by the Sellers, the Purchasers and the Companies agree that any and
all forgiveness with respect to the PPP Loan Escrow Agreements shall be distributed
exclusively to the Sellers in equal portions within one (1) business day of receipt, In the
event that the Approved Loan Forgiveness Amount is less than Escrow Property (as defined
in the Escrow Agreements), the Companies agree to appeal and dispute the SBA decision

Page 1 of 3

[3542-001/3424474/7][3542-00 1/3421887]

Dvorak0000017
Case o-24-OoU0/1-aSt DOC 1lo-O Filed lifly/24 centered 11/Lly/24 LUiogio6

12/22/20 CMM COMMENTS

on the amount of loan forgiveness pursuant to the rules established by the SBA in
comnection with the PPP Loan program to the extent requested by, Sellers and shall use best
efforts to keep the Sellers informed of the appeal process through final determination. The
Purchasers and the Companies covenant and agree that they shall not divert or otherwise
use any amount of loan forgiveness for any purpose other than to repay the Seller Escrow
to Sellers or take or permit to be taken any action inconsistent with the purpose of the Seller
Escrow. In addition, to the extent the PPP Loans are not forgiven, Purchasers shall be
jointly and severally obligated to Sellers, on a pro rata basis, in an aggregate amount not to
exceed $721,650.00. Each of the obligations referred to in this paragraph may be
evidenced by one or more promissory notes bearing simple interest at the then current
federal interest rate on all outstanding amounts.

5. The Parties acknowledge and agree that the Blue Station Realty LLC PPP Loan with
Santander Bank in the amount of $18,460 (the “Santander PPP Loan”) will be paid in full
on or before Closing and no escrow shall be necessary.

Nothing in this Letter shall be construed as a waiver by any Party of any right, power, condition,
provision, or obligation under the Transaction Documents.

This Letter shall be governed, construed, and interpreted in accordance with the laws of the State
of New York, without giving effect to principles of conflicts of law.

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Page 2 of 3

[3542-001/3424474/7][3542-001/3421887]

DvorakO000018
Case 0-24-0600 /1-ast

Very truly yours,

PURCHASERS:

SELLERS:

COMPANIES:

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Meghan - one

Al LaBella

Douglas Belz

Stephen DiMeglio

James Dvorak

BLUE DIAMOT

EET METAL, INC,
By:

Name
Title: Vice President

DIAM-N-BLU

NICAL CORP,

By:
Name: Al LaBella
Title: Vice President

MIRAGE MECHA! SYSTEMS, INC.
By:

Name: Al LaBella
Title Vice President

BLUE STATION REALTY LLC

Name: Meghan élla

Title; Managing Member

Signature page to Side Letter

Dvorak0000019
Case o-24-OoU0/1-aSt DOC 1lo-O Filed lifly/24 centered 11/Lly/24 LUiogio6

Very truly yours,

PURCHASERS:

SELLERS:

COMPANIES:

Meghan LaBella

Al LaBella

Douglas Belz

Stephen DiMeglio

James Dvorak

BLUE DIAMOND SHEET METAL, INC.

By:
Name: Al LaBella
Title: Vice President

DIAM-N-BLU MECHANICAL CORP,

By:
Name: Ai LaBella
Title; Vice President

MIRAGE MECHANICAL SYSTEMS, INC.

By:
Name: Al LaBella
Title; Vice President

BIE STATION REALTY LLC
By:

Name: Meghan LaBella
Title: Managing Member

Signature page to Side Letter

Dvorak0000020
Case 0-24-0600 /1-ast

Very truly yours,

PURCHASERS:

SELLERS;

COMPANIES:

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Meghan LaBella

Al LaBella

James Dvorak

BLUE DIAMOND SHEET METAL, INC,

By:
Name: Al LaBella
Title; Vice President

DIAM-N-BLU MECHANICAL CORP.

By:.
Name: Al LaBella
Title: Vice President

MIRAGE MECHANICAL SYSTEMS, INC.

By:
Name: AI LaBelia
Title: Vice President

BLUE STATION REALTY LLC
By;

Name: Meghan LaBella
Title: Managing Member

Signature page to Side Letter

Dvyorak0000021
Case 0-24-0600 /1-ast

Very truly yours,

PURCHASERS:

SELLERS:

COMPANIES:

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Meghan LaBella

“Al LaBella

‘Douglas Belz

BLUE DIAMOND SHEET METAL, INC.
By: "
Name: Al LaBella

Title: Vice President

DIAM-N-BLU MECHANICAL CORP.

By
Name: Al LaBella
Title: Vice President

MIRAGE MECHANICAL SYSTEMS, INC,

By
Name: Al LaBella
Title: Vice President

BLUE STATION REALTY LLC

By:
Name: Meghan LaBella
Title: Managing Member

Signature page to Side Letier

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Case o-24-OoU0/1-aSt DOC 1lo-O Filed lifly/24 centered 11/Lly/24 LUiogio6

December 22, 2020

RE: Side Letter (“Letter”) to the Purchase Agreement
Ladies and Gentlemen:

Reference is made to that certain Equity Security Purchase Agreement dated July 1, 2020, as
amended by the First Amendment to the Equity Security Purchase Agreement dated November
25, 2020 (the “Purchase Agreement”), by and between Douglas Belz (“DB”), Stephen DiMeglio
(“SD”), and James Dvorak (“JD”) (DB, SD and JD individually, a “Seller” and collectively, the
“Sellers”); and Meghan LaBella (“ML”) and Al LaBella (“SAL”) (ML and AL individually, a
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herein as a “Party,” and, collectively, as the “Parties.” The Purchase Agreement and the documents
specifically related thereto are collectively referred to herein as the “Transaction Documents,”
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In consideration of the undersigned Parties’ entry into the Transaction Documents, as they may
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1. The Companies shall pay to each Seller “all unpaid distributions from the Companies in
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3. The Parties shall cooperate with one another and Purchasers shall use commercially
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of the Purchase Agreement as soon as practicable post-Closing.

4. The Parties acknowledge and agree that Sellers have placed their own funds in the
aggregate amount of $2,886,600 (the “Seller Escrow”) into escrow pending the
determination on forgiveness of certain PPP Loans, and that Companies hereby agree that
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event that the Approved Loan Forgiveness Amount is less than Escrow Property (as defined
in the Escrow Agreements), the Companies agree to appeal and dispute the SBA decision

Page 1 of 3

[3542-001/3424474/7][3542-001/3421887)]

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12/22/20 CMM COMMENTS

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federal interest rate on all outstanding amounts.

5. The Parties acknowledge and agree that the Blue Station Realty LLC PPP Loan with
Santander Bank in the amount of $18,460 (the “Santander PPP Loan”) will be paid in full
on or before Closing and no escrow shall be necessary.

Nothing in this Letter shall be construed as a waiver by any Party of any right, power, condition,
provision, or obligation under the Transaction Documents.

This Letter shall be governed, construed, and interpreted in accordance with the laws of the State
of New York, without giving effect to principles of conflicts of law.

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Page 2 of 3

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Very truly yours,

PURCHASERS:

SELLERS:

COMPANIES:

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Meghan |

Al Lapélla "

Douglas Belz

Stephen DiMeglio

James Dvorak

NamexAt LaBella
Title: Vice President

BIAM-N-BLU

By
Name: Al LaBella
Title: Vice President

MIRAGE a SYSTEMS, ENC.
ry

By:
Name: Al LaBella
Title: Vice President

BLUE STATION REALTY LLC

Name: Meghan LaBella

Title; Managing Member

Signature page to Side Letter

Belz0000019
Case 0-24-0600 /1-ast

Very truly yours,

PURCHASERS;

SELLERS:

COMPANIES:

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Meghan LaBella

Al LaBella

Douglas Belz

Stephen DiMegtio —

Jamey Dvorak

BLYE DIAMOND SREET METAL, INC,

By: cca
Name: Al LaBella
Title: Vice President

DIAM-N-BLU MECHANICAL CORP.

B

Name: Al LaBella
Titk: Vice President

MIRAGE MECHANICAL SYSTEMS, INC,

By: vee
Nume: Al LaBella
Titlo: Vice President

BLUE STATION REALTY LLC

By:
Name: Meghan LaBella
Title: Managing Member

Signature page to Side Letter

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Case 0-24-0600 /1-ast

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PURCHASERS:

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Meghan LaBella

‘Al LaBella

. James Dvorak

BLUE DIAMOND SHEET METAL, INC,

B

fame? Al LaBella
Title: Vice President

DIAM-N-BLU MECHANICAL CORP.
By;

Name: AJ LaBella
Title: Vice President

MIRAGE MECHANICAL SYSTEMS, INC,

By:
Name: Al LaBella
Title: Vice President

BLUE STATION REALTY LLC

By;
Name: Meghan LaBella
Title: Managing Member

Signature page to Side Letter

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Belz0000021
Case 0-24-0600 /1-ast

Very truly yours,

PURCHASERS:

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COMPANIES:

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Meghan LaBella

Al LaBella

‘Douglas Belz

BLUE DIAMOND SHEET METAL, INC.
By: °
Wame: Al LaBella

Title: Vice President

DIAM-N-BLU MECHANICAL CORP.

By:
Name: Al LaBella
Title: Vice President

MIRAGE MECHANICAL SYSTEMS, INC.

By;
Name; Al LaBella
Title: Vice President

BLUE STATION REALTY LLC

By:
Name: Meghan LaBella
Title: Managing Member

Signature page to Side Leiter

Belz0000022
Case o-24-OoU0/1-aSt DOC 1lo-O Filed lifly/24 centered 11/Lly/24 LUiogio6

December 22, 2020

RE: Side Letter (“Letter”) to the Purchase Agreement
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Page 1 of 3

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12/22/20 CMM COMMENTS

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of New York, without giving effect to principles of conflicts of law.

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Page 2 of 3

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DiMeglio0000020
Case 0-24-0600 /1-ast

Very truly yours,

PURCHASERS:

SELLERS:

COMPANIES:

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Meghan

Al LaBella

Douglas Belz

Stephen DiMeglio

James Dvorak

BLUE DIAMOND SHEET METAL, INC,

By:
NamexAl La
Title: Vice President

DIAM-N-BLU.

By:
Namie: Al LaBella
Title: Vice President

MIRAGE ME SYSTEMS, INC,
By:

Name: Al LaBella
Title: Vice President

BLUE STATION REALTY LLC

Name: Meghan ella

Title: Managing Member

Signature page to Side Letter

DiMegliodd00021
Case o-24-OoU0/1-aSt DOC 1lo-O Filed lifly/24 centered 11/Lly/24 LUiogio6

Very truly yours,
PURCHASERS:
Meghan LaBella
Al LaBella
SELLERS: :
Douglas Belz
Stephen DiMevlia ~
James Dvorak
COMPANIES:

BLUE DIAMOND SHEET METAE, INC.

Byt .
Name: Al LaBella
Title: Vice President

DIAM-N-BLU MECHANICAL CORP,

By: ,
Naine: Al LaBella
Titk: Vice President

MIRAGE MiKCHANICAL SYSTEMS, INC,

Tile: Vice President

BLIAE STATION REALTY LLC

By:
Name: Meghan LaBella
Title: Managing Member

Signature page to Side Letter

DiMeglio0000022
Case 0-24-0600 /1-ast

Very truly yours,

PURCHASERS:

SELLERS:

COMPANIES:

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Meghan LaBella

Al LaBella

Douglas. Belz

te shen DiMeglio

James Dvorak

BLUE DIAMOND SHEET METAL, INC.

Byy
Name: Al LaBella
Title: Vice President

DIAM-N-BLU MECHANICAL CORP.

By: .
Name: Al LaBella
Title: Vice President

MIRAGE MECHANICAL SYSTEMS, INC.

By:
Name: Al LaBella
Title: Vice President

BLUE STATION REALTY LLC
By:

Name: Meghan LaBella
Title: Managing Member

Signature page to Side Letter

DiMegliot000023
Case 0-24-0600 /1-ast

Very truly yours,

PURCHASERS:

SELLERS:

COMPANIES:

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Meghan LaBella

Al LaBella

‘Douglas Belz

BLUE DIAMOND SHEET METAL, INC.

By:
Name: Al LaBella
Title: Vice President

DIAM-N-BLU MECHANICAL CORP.

By:
Name: Al LaBella
Title: Vice President

MIRAGE MECHANICAL SYSTEMS, INC.

By:
Name; Al LaBella
Tille: Vice President

BLUE STATION REALTY LLC

By:
Name: Meghan LaBella
Title: Managing Member

Signature page to Side Leiter

DiMeglicd0000024
